                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA




KYKO GLOBAL, INC., a Canadian                 Case No. 2:18-cv-1290-WSS
corporation, KYKO GLOBAL GmbH, a              [Oral Argument Requested]
Bahamian corporation, PRITHVI
SOLUTIONS, INC., a Delaware Corporation

                        Plaintiffs,
v.

PRITHVI INFORMATION SOLUTIONS,
LTD, an Indian corporation, VALUE TEAM
CORPORATION, a British Virgin Islands
corporation, SSG CAPITAL PARTNERS I,
L.P., a Cayman Islands Limited Partnership,
SSG CAPITAL MANAGEMENT (HONG
KONG) LIMITED, a private Hong Kong
company, MADHAVI VUPPALAPATI, an
individual, ANANDHAN JAYARAMAN, an
Individual, SHYAM MAHESHWARI, an
individual, IRA SYAVITRI NOOR A/K/A
IRA NOOR VOURLOUMIS, an individual,
DINESH GOEL, an individual, WONG
CHING HIM a/k/a Edwin Wong, an
individual, ANDREAS VOURLOUMIS, an
individual, PRITHVI ASIA SOLUTIONS
LIMITED, a Hong Kong company

                        Defendants.


      PLAINTIFFS' RESPONSE TO SSG DEFENDANTS' MOTION TO STRIKE
                             AFFIDAVITS
        NOW COME Plaintiffs Kyko Global Inc., Kyko Global GmbH, and Prithvi Solutions

Inc. ("Plaintiffs") and state the following as their Response to the SSG Defendants' Motion to

Strike Affidavits:

                                               BACKGROUND

        On January 28, 2019, the SSG Defendants informed Judge Phipps that they did not want

to engage in Fed. R. Civ. P. 26(a) disclosures until after the Court ruled on their Motion to

Dismiss:

        The SSG Defendants respectfully propose that Rule 26(a) disclosures be deferred until 14 days
        after (i) the Court’s ruling on the merits of the SSG Defendants’ pending Motion to Dismiss (ECF
        No. 25), if the Court denies the Motion, and (ii) the resolution of all service issues." [Doc. No. 33-
        1, Pg. 6].

        Notwithstanding their refusal to engage in the Fed. R. Civ. P. 26(a) disclosure process,

the SSG Defendants reviewed the record in the unrelated case of Kyko Global Inc. et al. v.

Prithvi Information Solutions, No. C13-1034 MJP (W.D. Wash.) ("Washington Litigation") and

try to use (improperly and out-of-context) Mr. Guru Pandyar's Declaration in that case in support

of their Motion to Dismiss in this case [Doc. No. 43, Pgs. 17-18]. Moreover, Mr. David

Amorose submitted a Declaration in the Washington Litigation [Doc. No. 239] which the SSG

Defendants have strategically decided not to try to use in this case. 1

        Plaintiffs' counsel examined Defendant Dinesh Goel with respect to his email

communications with Mr. Pandyar which Mr. Pandyar addresses in his Declaration [Doc. No.

109-13]. Plaintiffs' counsel specifically informed SSG Defendants' counsel that he was making

erroneous objections due to the SSG Defendants' failure to undertake any jurisdictional

discovery:

        BY MR. MACYDA:
        ...

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 The SSG Defendants have also reviewed the record in the unrelated case of Kyko Global Inc. et al. v. Omkar
Bhongir, No. 2:17-CV-00212 (W.D. Pa.), to try to make arguments in support of their defense in this case.
        So my first question is:· Why is
        Guru Pandyar sending you this email?

        MR. GINSBERG: Objection, calls for
        speculation.·I'll also note that Mr. Pandyar email or
        attaches his address as Bellevue Washington, so I'm
        struggling to understand how this document relates to
        your permitted scope of discovery with respect to
        contacts with the Western District of Pennsylvania.

        MR. MACYDA:· You guys have opportunity to do
        your own discovery in this case and opted not to do
        it.· So Mr. Pandyar's role in this matter will be
        whatever it is.

        MR. GINSBERG:· Well, no, you're limited to
        discovery about contacts with the Western District of
        Pennsylvania and --

        MR. MACYDA:· And it's been our position which your clients cannot refute, that Mr. Pandyar
        has been at all material times a corporate representative of both PISL and PSI.

        MR. GINSBERG:· I'm not sure we have any obligation to dispute that; but, again, I'm not
        understanding how this email from an operative in Washington state has anything to do with the
        Western District of Pennsylvania.
        ...
        (Goel Trs. Pgs. 75-77, Exhibit A) 2

        After refusing to participate in the Fed. R. Civ. P. 26(a) disclosure process, refusing to

engage in their own jurisdictional discovery, and nevertheless having full knowledge of Mr.

Pandyar and Mr. Amorose during the jurisdictional discovery period, the SSG Defendants now

try to invent reasons to strike out Mr. Pandyar's and Mr. Amorose's Declarations because they

demonstrate that the SSG Defendants had contacts with Pittsburgh and the SSG Defendants

regret having failed to examine these witnesses prior to the submission of their Supplemental

Jurisdiction Brief.

                                                 ARGUMENT

I. The Declarations Were Timely Submitted

        The SSG Defendants state that the Declarations should be stricken because they were

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  As discussed later in this Brief, Mr. Goel also explicitly told Plaintiffs' counsel during his examination that
Plaintiffs' counsel should contact Mr. Pandyar to obtain answers to Plaintiffs' counsel's questions due to Mr. Goel's
purported inability to provide answers.

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filed after the December 2, 2019, discovery cutoff date. (Mtn. Pg. 2). This Court did not order a

cutoff date regarding the submissions of Declarations.                   The Court ordered a jurisdictional

discovery cutoff date - December 2, 2019 - and a supplemental brief filing date - December 16,

2019.     The Declarations were submitted on December 16, 2019, as part of Plaintiffs'

Supplemental Jurisdiction Brief. Accordingly, Plaintiffs timely submitted the Declarations under

this Court's Order. 3 See Also Woods v. Austal, U.S.A., LLC, 2011 WL 1380054, at *2 (S.D.

Ala. Apr. 11, 2011) (“[P]laintiff identifies no authority for the proposition that he was entitled to

a ‘free preview’ of defendant's summary judgment witness declarations before the close of

discovery.... Nor is there any rule or legal principle mandating that declarations be stricken from

a summary judgment record unless they were prepared, executed and produced to opposing

counsel before the close of discovery.”).

         Moreover, after refusing to participate in the Fed. R. Civ. P. 26(a) disclosure process,

refusing to engage in their own jurisdictional discovery, and otherwise having full knowledge of

Mr. Pandyar and Mr. Amorose, the SSG Defendants cannot claim that they are prejudiced by

these Declarations. See Enos-Martinez v. Bd. of Cnty. Comm'rs of the Cnty. of Mesa, 2012 WL

1079442, Case No. 10-cv-00033, at *3 (D. Colo. March 30, 2012)("After making the tactical

decision not to depose these third-party witnesses, Defendant cannot now complain that it is

somehow prejudiced by the attachment of these affidavits to Plaintiff's Summary Judgment

Response").

         As set forth above, the Declarations were timely submitted and the SSG Defendants

cannot claim that they have suffered any prejudice. Accordingly, the SSG Defendants' Motion

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 Under the SSG Defendants' view, Plaintiffs were required to file the Declarations as standalone documents on
December 2, 2019, and then file their Supplemental Jurisdiction Brief on December 16, 2019. The analog to this
would be that the SSG Defendants were required to file their transcripts in support of their Supplemental Jurisdiction
Brief on December 2, 2019, as standalone documents and then file their Supplemental Jurisdiction Brief on
December 16, 2019. Clearly, the Court did not order this illogical sequence of events.

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should be denied.

II. Mr. Amorose's Declaration Is Based on Personal Knowledge

         The SSG Defendants argue that Mr. Amorose's Declaration is based on speculation given

the following statement contained in Mr. Amorose's Declaration:

         Accordingly, to the extent that these loans are properly due and owing, they would have been
         created by SSG Capital and Value Team Corporation contacting PSI in Pittsburgh to negotiate and
         finalize the loans. (Mtn. Pg. 2, emphasis included)

         Plaintiffs have pled breach of contract/quasi contract claims, in the alternative, against

the SSG Defendants (Counts VII-IX). As set forth in Plaintiffs' Supplemental Jurisdiction Brief

[Doc. No. 109] and their previous filings, Plaintiffs maintain that the SSG Defendants made

numerous contacts with Pittsburgh to try to steal and launder PSI's Bond Funds out of Pittsburgh.

However, in the event it is determined that these acts relate to a loan transaction instead of a

conspiracy to steal PSI's Bond Funds, Plaintiffs are entitled to submit jurisdictional evidence, in

the alternative, to support jurisdiction. See Burns v. Events & Transport Associates Inc., 2010

WL 11500040, Case No. 08-173, at * 6 (D. N.M. March 9, 2010)("The Court has considered

Plaintiff's affidavit in support of jurisdiction and finds that the facts therein do not preclude one

theory or another ... as the Court might disagree with her legal conclusion. Such alternative

pleading is permissible precisely because the rules recognize that a plaintiff may not be sure in

advance upon which legal theory she will succeed"). Consistent with Plaintiffs' alternative

claims, Mr. Amorose - who was PISL's and PSI's Corporate Controller and CFO - states that to

the extent the loans are properly due and owing, the loans would have been created by SSG

Capital and VTC contacting PSI in Pittsburgh based on his familiarity with PSI's operations and

documentation. 4

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  The SSG Defendants premise their argument on their self-serving testimony that the loans do not exist. (Mtn Pg.
2). Whether the loans actually exist goes to the merits of this case, not jurisdiction. Moreover, this Court is required
to accept Plaintiffs alternative allegations as true to determine whether Plaintiffs have established a prima facie case

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         The SSG Defendants also state, "Mr. Amorose’s conditional statement that nonexistent

loans 'would have been created' in Pennsylvania is not based on personal knowledge, but rather

is pure speculation and conjecture." (Mtn. Pg. 2). Mr. Amorose worked for PSI and PISL for a

little over eight years and during the time period at issue in Plaintiffs' Complaint. [Doc. No. 109-

6, ¶ 2]. Mr. Amorose's job duties entailed finance, taxation, accounting, and payroll. [Doc. No.

109-6, ¶ 6]. Mr. Amorose reviewed Plaintiffs' Complaint and has personal knowledge regarding

the Bond Funds discussed in the Complaint. [Doc. No. 109-6, ¶ 7]. Mr. Amorose reviewed PSI's

balance sheet which shows $4,000,000 owing from SSG Capital and $18,900,000 owing from

VTC. [Doc. No. 109-6, ¶ 12]. Based upon Mr. Amorose's familiarity with PSI's and PISL's

operations, review of PSI's balance sheet, and his former job duties, Mr. Amorose states that the

SSG Defendants and VTC would have contacted PSI in Pittsburgh to negotiate and finalize the

loans. [Doc. No. 109-6, ¶ 12].

         Courts routinely permit witnesses to provide opinions based upon their familiarity with a

company's operations and records. See United States v. Polishan, 336 F.3d 234, 242 (3rd Cir.

2003)("A witness testifying about business operations may testify about 'inferences that he could

draw from his perception' of a business's records, or 'facts or data perceived' by him in his

corporate capacity ... Lay opinion testimony may be based on the witness's own perceptions and

'knowledge and participation in the day-to-day affairs of [the] business'")(Citations Omitted); In

re Texas Eastern Transmission Corp. PCB Contamination Ins. Coverage Litigation, 870 F.Supp.

1293, 1303-1304 (E.D. Pa. 1992)(company employee permitted to submit affidavit regarding

company's historical practices based on his review of company records); Seltzer v. I.C. Optics

of personal jurisdiction. See Miller Yacht Sales Inc. v. Smith, 384 F.3d 93, 97 (3rd Cir. 2004)(“[W]hen the court
does not hold an evidentiary hearing on the motion to dismiss [for lack of personal jurisdiction], the plaintiff need
only establish a prima facie case of personal jurisdiction and the plaintiff is entitled to have its allegations taken as
true and all factual disputes drawn in its favor”).(Emphasis Added).


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Ltd., 339 F.Supp.2d 601, 606 (D. N.J. 2004)(permitting plaintiff to oppose Rule 12(b)(2) motion

by providing affidavit regarding company's advertising, sales, and management activities

because, as defendant's former Managing Director and Chief Operating Officer, "a person in his

position would have sufficient knowledge of company operations to support the assertions

[made] in his affidavit").

       As set forth above, Mr. Amorose's Declaration is not based on "speculation." It is based

on his personal involvement in PISL's and PSI's business operations and review of corporate

documentation related to same. Accordingly, the SSG Defendants' Motion should be denied.

III. Mr. Pandyar's Declaration Is Consistent With Plaintiffs' Pleadings

       The SSG Defendants state that Mr. Pandyar's Declaration should be stricken because it

states that the Bond Funds belong to PSI, instead of PISL, and that this statement allegedly

contradicts Plaintiffs' Complaint which requires Mr. Pandyar's statement to be stricken. (Mtn. Pg.

3).

       The SSG Defendants cite Pellegrino v. McMillen Lumber Products Corp., 16 F.Supp.2d

574, 583 (W.D. Pa. 1996) to support their argument. In this case, merits discovery had occurred

and the Court precluded the plaintiff from submitting an affidavit that contradicted her prior

deposition testimony and interrogatory responses to try to create a genuine issue of material fact

to preclude summary judgment. Here, merits discovery has not occurred, there is no pending

motion for summary judgment, and Mr. Pandyar's Declaration does not contradict any previously

made declaration (or Complaint or any other pleading). Accordingly, Pellegrino is inapposite.

       Nevertheless, the SSG Defendants misrepresent Plaintiffs' Complaint. The SSG

Defendants refer to ¶ 98 which references the Bond offering and ignore ¶ 101 which states:




                                                6
         Consistent with the Bond Offer Circular, PISL and PSI entered into an agreement wherein the
         Bonds were issued for the benefit of PSI and the Bonds funds were to be used solely by PSI to
         execute business operations in the United States. (Emphasis Added). 5

         Moreover, Plaintiffs have routinely asserted through this case that the Bond Funds belong

to PSI6 and recently restated this position in their Supplemental Jurisdiction Brief: "As part of

the Defendants' conspiracy to steal PSI's Bond Funds, the SSG Defendants obtained PSI's and

PISL's corporate information by contacting PSI and PISL in Pittsburgh to enable them to create

Prithvi Asia Solutions Limited ("PASL") to serve as a pass-through entity to receive PSI's Bond

Funds." [Doc. No. 109, Pg. 6] (Emphasis Added).

         As set forth above, Mr. Pandyar's statement that he transferred PSI's Bond Funds is

entirely consistent with Plaintiffs' Complaint and Plaintiffs' submissions in this case. 7

Accordingly, the SSG Defendants' Motion should be denied.

IV. Mr. Pandyar's Declaration Does Not Assert Legal Argument

         Mr. Pandyar's Declaration describes his personal involvement with Defendant Dinesh

Goel with respect to his request to receive $,2,500,000 of PSI's Bond Funds. Not liking Mr.

Pandyar's opinions regarding Mr. Goel's contacts with Pittsburgh, the SSG Defendants state:

         8. Mr. Pandyar’s Declaration provides inappropriate legal argument based on a gross
         mischaracterization of documents in the record:

         As reflected on SSG00007-SSG00008, Mr. Goel requested PSI to wire $2,500,000 of Bond Funds
         from its PNC Pittsburgh Bank….ECF No. 109-13, ¶ 7.

         This averment is not based on Mr. Pandyar’s personal knowledge but is his interpretation about
         documents in the record. It should therefore be stricken. Ne.Revenue Servs., LLC v. Maps Indeed,
         Inc., No. 14-00852, 2015 WL 1963170, at *4 (M.D. Pa. Apr. 30,2015) (striking portions of
         declaration because “legal conclusions … are not permissible”). (Mtn. Pgs. 3-4).

         "The best way to determine whether opinion testimony contains legal conclusions, 'is to

determine whether the terms used by the witness have a separate, distinct and specialized

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  PSI's use of the Bond Funds is also referenced in, without limitation, ¶ 120, ¶ 121, ¶ 123, ¶ 124, ¶ 132, ¶ 138.
6
  For example, and without limitation, Doc. No. 40-1, ¶¶ 8, 35.
7
  Even if Mr. Pandyar's statements were inconsistent, this would not affect jurisdiction (or liability) - PSI's principal
place of business was in Pittsburgh, PISL is registered to do business in Pittsburgh, and all operations regarding the
Bond Funds were executed in Pittsburgh. [Doc. No. 109-6].

                                                           7
meaning in the law different from that present in the vernacular.'” U.S. v. Barile, 286 F.3d 749,

760 (4th Cir. 2002). See Also Fed. R. Evid. 704(a)("An opinion is not objectionable just because

it embraces an ultimate issue").

       Mr. Pandyar's states: "Mr. Goel requested PSI to wire $2,500,000 of Bond Funds from its

PNC Pittsburgh Bank ..." ECF No. 109-13, ¶ 7. This is clearly a statement of fact and not a legal

conclusion - The SSG Defendants are simply arguing with Mr. Pandyar and do not like that this

statement of fact, when applied to the governing law as set forth in Plaintiffs' Briefs, demonstrate

that Plaintiffs have established a prima facie case of personal jurisdiction.

V. Mr. Pandyar's Declaration Is Not False And Misleading

       The SSG Defendants state:

       9. Mr. Pandyar’s legal characterization of SSG00007 – SSG00008 is also false and
       misleading. Those documents do not show that Mr. Goel requested a wire transfer from
       Pittsburgh. To the contrary, the documents say:

               As per the instructions of Satish [Vuppalapati], Please find attached
               confirmation of the amount transferred to Prithvi Asia yesterday.

       ECF No. 109-13, at 7 (emphasis added). The documents show that Satish Vuppalapati instructed
       Guru Pandyar to send a confirmation to Dinesh Goel. They do not show that Dinesh Goel
       requested anything of PSI—or that anyone from the SSG Defendants requested a wire transfer
       take place.

       During his deposition, Mr. Goel claimed he was unable to answer basic questions

regarding what had occurred regarding SSG00007-000011 (attached to Mr. Pandyar's

Declaration) and repeatedly told Plaintiffs' counsel that he should contact Mr. Pandyar to

understand what occurred with respect to these documents. By way of example, but not

limitation:

       BY MR. MACYDA:
       Q.· So, sir, why did Mr. Pandyar send this email to you on May 27, 2011?

       MR. GINSBERG:· Objection, calls for speculation.

       A.· You should ask Mr. Pandyar.

       BY MR. MACYDA:

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       Q.· Okay.· So when you received this email, it took you completely by surprise, that's your
       testimony?

       MR. GINSBERG:· Objection, misstates the testimony.

       A.· I did not say that.

       BY MR. MACYDA:
       Q.· Okay.· So, again, why would Mr. Pandyar have sent this email to you?

       MR. GINSBERG:· Objection, calls for speculation.

       A.· I repeat, you should ask Mr. Pandyar that question, he is the one who sent the email.
       (Goel Trs. 78-79)(Exhibit B).
       ...
       BY MR. MACYDA:
       Q.· Okay.· So if we go to SSG 11 -- and we'll do these a little backwards today, it's going to be
       clearer -- you'll see Guru Pandyar's email, 15 June, 2011, to you, with a cc to Satish, subject line is
       "Transfer of Funds."· Mr. Pandyar writes to you: "Find attached the wire transfer sent to Prithvi
       Asia.· Kindly confirm the receipt of the same." And then if you look at 9 and 10, your wire
       activity reports generated from PNC Bank. Do you see all of that?

       A.· Yes, I do.

       Q.· Why did Mr. Pandyar send that to you?

       A.· As I said earlier, you should ask Mr. Pandyar.
       (Goel Trs. 85-86) (Exhibit C).

       Plaintiffs followed Mr. Goel's suggestion and contacted Mr. Pandyar to learn what had

occurred. As set forth in Mr. Pandyar's Declaration, Mr. Goel, who was never a Prithvi Board

member or employee, nevertheless had direct access to Prithvi Asia's bank account and engaged

in repeated email exchanges with Mr. Pandyar wherein Mr. Goel repeatedly requested Mr.

Pandyar to send Mr. Goel information to allow Mr. Goel to acquire PSI's Bond Funds; and Mr.

Pandyar describes how Mr. Goel was repeatedly made aware that the Bond Funds he requested

to receive came from PSI's PNC Bank Account. Not liking what Mr. Pandyar has to say, the

SSG Defendants once again argue with Mr. Pandyar and seek to strike his Declaration because it

establishes the SSG Defendants' contacts with Pittsburgh.

       The SSG Defendants' reference to Satish Vuppalapati is simply a diversion to the

foregoing as Mr. Pandyar clearly sets forth how Mr. Goel independently requested to receive


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PSI's Bond Funds from Mr. Pandyar as discussed above. Moreover, the SSG Defendants'

statement that Mr. Goel did not request Satish Vuppalapati to effectuate the wire transfers is

patently false. As set forth in Plaintiffs' Supplemental Jurisdiction Brief, Mr. Maheshwari and

Mr. Goel both requested Satish Vuppalapati (and Madhavi Vuppalapati) to wire $2,500,000

prior to the email exchanges between Mr. Pandyar and Mr. Goel discussed above. [Doc. No.

109, Pg. 9]. Clearly, the "instructions of Satish [Vuppalapati]" referenced in the email exchanges

were caused by Mr. Goel's demands made to Satish Vuppalapati to have the funds wired.

                                        CONCLUSION

       For the reasons set forth above, the SSG Defendants' Motion should be denied.




                                             Respectfully submitted,

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                               CERTIFICATE OF SERVICE

        The undersigned certifies that a true and correct copy of the foregoing document was
served via the Court’s CM/ECF Notification System on this 31st day of December, 2019 upon
the following:


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       The undersigned certifies that a true and correct copy of the foregoing document was
served via U.S. Mail for posting on the 31st day of December, 2019 upon the following:

                              Prithvi Information Solutions, LTD.
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        The undersigned certifies that a true and correct copy of the foregoing document was
served via Email on the 31st day of December, 2019 upon Madhavi Vuppalapati by sending an
email to:

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                                   /s/ Joseph F. Rodkey, Jr.




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